                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )             No. 3:07-CR-120
                                                    )             (Phillips / Guyton)
 SPENCER WHITE,                                     )
                                                    )
                        Defendant.                  )

                                              ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This matter is before the Court upon a pretrial motion to suppress evidence

 filed Defendant Spencer White. The issues raised by Mr. White relate to the introduction of his

 allegedly incriminating statement as evidence at trial. The Court observes that the United States has

 filed a plea agreement under seal as to Spencer White [Doc. 120] and concludes that the defendant’s

 motion is now moot. Accordingly, it is ORDERED that Spencer White’s Motion to Suppress

 Defendant’s Alleged Statements [Doc. 74] is DENIED as moot.

        IT IS SO ORDERED.

                                                    ENTER:


                                                         s/ H. Bruce Guyton
                                                    United States Magistrate Judge




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